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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                  :
Ashley Pierrelouis,                               :
                                                  : Civil Action No.: 1:14-cv-13738-JGD
                       Plaintiff,                 :
       v.                                         :
                                                  :
RGS Financial, Inc.; and DOES 1-10,               :
inclusive,                                        :
                                                  :
                       Defendants.                :
                                                  :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                           PURSUANT TO RULE 41(a)

       Ashley Pierrelouis (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint
and voluntarily dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: March 24, 2015

                                                      Respectfully submitted,

                                                      By: /s/ Sergei Lemberg
                                                           Sergei Lemberg, Esq.
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                                                           Facsimile: (203) 653-3424
                                                           Attorneys for Plaintiffs
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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2015, a true and correct copy of the foregoing Notice
of Withdrawal was served electronically by the U.S. District Court for the District of
Massachusetts Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                            By_/s/ Sergei Lemberg_________
                                                Sergei Lemberg
